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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                     CASE NO. 3:19cr45/MCR

BARRY OCONNER WRIGHT
a/k/a Barry O’Conner Wright
_____________________________/


                    ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, the plea of guilty of the

Defendant, BARRY OCONNER WRIGHT a/k/a Barry O’Conner Wright, to

Counts One through Four of the Indictment is hereby ACCEPTED. All parties shall

appear before this Court for sentencing as directed.

      DONE and ORDERED this 26th day of June 2019.



                                        s/ M. Casey Rodgers
                                       M. CASEY RODGERS
                                       UNITED STATES DISTRICT JUDGE
